




NO. 07-01-0274-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JULY 12, 2001



______________________________





ERICA NOLEN, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 242
ND
 DISTRICT COURT OF HALE COUNTY;



NO. B13630-0001; HONORABLE ED SELF, JUDGE



_______________________________



Before QUINN and REAVIS and JOHNSON, JJ.

Appellant Erica Nolen filed a Motion to Dismiss Appeal on July 9, 2001, averring that she no longer wishes to prosecute her appeal. &nbsp;&nbsp;The Motion to Dismiss is signed by both appellant and her attorney. &nbsp;

Without passing on the merits of the case, appellant’s motion for voluntary dismissal is granted and the appeal is hereby dismissed. &nbsp;Tex. R. App. P. 42.2. &nbsp;&nbsp;Having dismissed 



the appeal at appellant’s personal request, no motion for rehearing will be entertained and our mandate will issue forthwith. &nbsp;





Phil Johnson

 &nbsp;&nbsp;&nbsp;	 &nbsp;&nbsp;&nbsp;Justice































































Do not publish.


